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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE                                          :      CHAPTER 11
                                                :
 MOUNTAIN PHOENIX, LLC,                         :      CASE NO. 20-71358-JWC
                                                :
      Debtor and Debtor-in-Possession.          :
 __ __ __ __ __ __ __ __ __ __ __               :   __ __ __ __ __ __ __ __ __ __ __
 BMW FINANCIAL SERVICES NA,                     :
 LLC,                                           :
                                                :
       Movant,                                  :
                                                :      CONTESTED MATTER
 v.                                             :
                                                :
 MOUNTAIN PHOENIX, LLC, Debtor                  :
 and Debtor-in-Possession,                      :
                                                :
       Respondent.                              :
                                                :
                                                :



                   MOTION FOR RELIEF FROM AUTOMATIC STAY

       NOW COMES BMW FINANCIAL SERVICES NA, LLC (the "Movant") and moves
this Court for relief from the automatic stay and shows the Court as follows:
                                               1.
       On November 3, 2020, Mountain Phoenix, LLC ("Debtor") proceeding pro se, filed a
petition for relief pursuant to 11 U.S.C. Chapter 11, and said case is pending before this Court.
                                               2.
       Movant has a claim in this case secured by a first priority lien against Debtor's vehicle,
to wit: 2010 Rolls -Royce Phantom VIN SCA664S50AUX48922 (the "Collateral"). The
approximate principal balance is $94,332.08 as of November 19, 2020, with a delinquency on
the loan secured thereby of $16,022.33. The prepetition delinquency is $13,730.96 and the
postpetition delinquency is $2,291.37. The loan is due postpetition for the November 13,
2020, payment. Monthly payments are $2,291.37. The NADA retail value of the Collateral is
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$86,000.00, and Movant has no other collateral securing this loan.
                                                  3.
          Debtor does not have equity in the Collateral and the Collateral is not necessary to a
reorganization that is in prospect.
                                                  4.
          Cause exists including the lack of adequate protection to grant Movant relief from the
automatic stay so as to authorize Movant to recover and dispose of the Collateral. Movant
requests the right to file an amended proof of claim after liquidation of the Collateral.
                                                  5.
          Movant requests that Bankruptcy Rule 4001(a)(3) be waived.
                                                  6.
          Movant has no proof of full coverage insurance protecting its interest in the Collateral.
                                                  7.
          Debtor is a corporate entity that must have counsel to appear before this court. -
National Independent Theatre Exhibitors, Inc. V. Buena Vista Distribution Company, 748 F.2d
602, 609 (11th Cir. 1984); Palazzo v. Gulf Oil Corporation, 764 F.2d 1381, 1385 (11th Cir.
1985). A Georgia limited liability company is a corporation that does require separate
representation. Winzer v. EHCA Dunwoody, LLC, 277 Ga. App. 710, 713-14, 627 S.E.2d 46
(2006).
          WHEREFORE, Movant prays that this Court:
          (a) Hold a hearing pursuant to this Motion within thirty (30) days as is required under
11 U.S.C. Section 362(e);
          (b) Grant Movant relief from the automatic stay under 11 U.S.C. Section 362(d) so as
to allow Movant to recover and dispose of the Collateral and to apply the net proceeds
generated therefrom to its claim in this case, and if the disposition results in a deficiency,
amend its claim filed in this case, subject to objection;
          (c) Rule 4001(a)(3) be waived; and
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      (d) Grant such other and further relief as the Court deems to be just and proper.
      This November 19, 2020.

                                      The Law Office of
                                      LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                      Attorneys for Movant


                                      By: /s/Craig B. Lefkoff
                                             Craig B. Lefkoff
                                             Georgia State Bar No. 445045
5555 Glenridge Connector
Suite 900
Atlanta, Georgia 30342
(404) 869-6900
clefkoff@lrglaw.com
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 IN RE                                         :       CHAPTER 11
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       Movant,                                 :
                                               :
 v.                                            :       CONTESTED MATTER
                                               :
 MOUNTAIN PHOENIX, LLC, Debtor                 :
 and Debtor-in-Possession,                     :
                                               :
       Respondent.                             :
                                               :
                                               :


                                 CERTIFICATE OF SERVICE

        The undersigned, Craig B. Lefkoff, hereby certifies that I am, and at all times
hereinafter mentioned, was more than 18 years of age, and that I served the MOTION FOR
RELIEF FROM AUTOMATIC STAY and NOTICE OF HEARING on the following parties 1)
electronically, if allowed by and pursuant to the requirements of local rule, or 2) by depositing
same in the United States Mail in properly addressed envelope(s) with adequate postage to all
others, as follows:


Mountain Phoenix, LLC
Suite 150
4345 Int'l Pkwy
Atlanta, GA 30354
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Thomas Wayne Dworschak
Office of the U.S. Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303

       This November 19, 2020.

                                       The Law Office of
                                       LEFKOFF, RUBIN, GLEASON & RUSSO, P.C.
                                       Attorneys for Movant


                                       By: /s/Craig B. Lefkoff
                                              Craig B. Lefkoff
                                              Georgia State Bar No. 445045
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 IN RE                                          :      CHAPTER 11
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 LLC,                                           :
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       Movant,                                  :
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 v.                                             :      CONTESTED MATTER
                                                :
 MOUNTAIN PHOENIX, LLC, Debtor                  :
 and Debtor-in-Possession,                      :
                                                :
       Respondent.                              :
                                                :
                                                :



                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that BMW Financial Services NA, LLC has filed a Motion
for Relief from Automatic Stay and related papers with the Court seeking an order of relief
from the Automatic Stay.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for
Relief from Automatic Stay, in Courtroom 1203, The Richard B. Russell Federal Building,
75 Ted Turner Drive, SW, Atlanta, Georgia 30303 at 10:00 a.m. on December 3, 2020.

Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
of the GANB Website (http://www.ganb.uscourts.gov/) prior to the hearing for instructions on
whether to appear in person or by phone.

Your rights may be affected by the Court’s ruling on these pleadings. You should read these
pleadings carefully and discuss with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the Court to
grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
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pleading with the Clerk at the address stated below, but you are not required to do so. If you
file a written response, you must attach a certificate stating when, how and on whom
(including addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address for the
Clerk’s Office is: Clerk, United States Bankruptcy Court, Room 1340, U.S. Courthouse, 75
Ted Turner Drive, SW, Atlanta, Georgia 30303. You must also mail a copy of your response
to the undersigned at the address stated below.

IF THE MOTION IS FOR RELIEF FROM STAY, and a hearing on the motion for relief from
the automatic stay cannot be held within thirty (30) days, Movant waives the requirement for
holding a preliminary hearing within thirty days of filing the motion and agrees to a hearing on
the earliest possible date. Movant consent to the automatic stay remaining in effect until the
Court orders otherwise.


Dated: November 19, 2020                Signature: /s/Craig B. Lefkoff
                                                       Craig B. Lefkoff
                                                       5555 Glenridge Connector
                                                       Suite 900
                                                       Atlanta, Georgia 30342
                                                       (404) 869-6900
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                                                       Bar Number 445045
